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                        IN THE UNITED STATES COURT
                      FOR THE DISTRICT OF PUERTO RICO




   UNITED STATES OF AMERICA

         Plaintiff,
                                            CRIM. NO.: 13-232 (SCC)
             v.

   [2] JUAN CARLOS ORTIZ-FIGUEROA

        Defendant.



                         OPINION AND ORDER

        Pending before the Court is Defendant Juan Carlos Ortiz-

    Figueroa’s (“Defendant Ortiz-Figueroa”) pro se request to

    serve the remainder of his sentence in home confinement. See

    Docket No. 117. The Government filed a response to the same.

    See Docket No. 126. For the reasons set for the below,

    Defendant Ortiz-Figueroa’s request is DENIED WITHOUT

    PREJUDICE.

        On April 2, 2014, Defendant Ortiz-Figueroa pleaded

    guilty 1 to one count of aiding and abetting a carjacking, in

    1The guilty plea was accepted by the Court on April 28, 2014. See Docket
    No. 56.
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    violation of 18 U.S.C. § 2119(1) and (2) (“Count I”), and aiding

    and abetting in the use of a firearm in furtherance of a crime

    of violence, in violation of 18 U.S.C. § 924(c)(1)(A)(ii) and (2)

    (“Count II”). See Docket Nos. 51, 53 and 54. On August 12,

    2014, the Court sentenced Defendant Ortiz-Figueroa to thirty

    (30) months of imprisonment as to Count I and eighty four

    (84) months of imprisonment as to Count II, to be served

    consecutively with each other for a total term of

    imprisonment of one hundred and fourteen (114) months. See

    Docket Nos. 74 and 75.

        In his request, Defendant Ortiz-Figueroa moves the Court

    to make him eligible to serve the remainder of his sentence in

    home confinement. See Docket No. 117. Defendant Ortiz-

    Figueroa alleges that, by the time that he filed his request, he

    had already spent over six (6) months in the special housing

    unit (“SHU”) at Fort Worth Medical Center and would have

    to serve the remainder of his sentence there even though he

    was supposedly scheduled to be transferred to Butner FCI

    and placed in home confinement by June 2021. Id. Defendant
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    Ortiz-Figueroa further contends that, after allegedly being

    informed that he would serve the remainder of his sentence

    in the SHU, he was placed on suicide watch. Id.

        In its response, the Government avers that, at some point

    in February 2021, Defendant Ortiz-Figueroa was transferred

    from Fort Worth Medical Center to Williamsburg FCI. 2

    Docket No. 126. Upon arriving at Williamsburg FCI, he was

    placed in quarantine, in light of the COVID-19 pandemic, but

    was set to join the general population of the correctional

    facility by mid-March 2021. Id. The Government also notes

    that, once Defendant Ortiz-Figueroa was released to the

    general population of the correctional facility, he would

    undergo a twofold evaluation concerning his mental health

    and his placement to a halfway house where he could serve

    the remainder of his sentence. Id. However, the Government

    stresses that, ultimately, the halfway house to which he could

    be eligible to be placed in has the final word on whether he is


    2 The Government highlights that inmates who suffer from medical
    conditions and cannot be placed in Butner FCI due to lack of space are
    therefore placed in Williamsburg FCI. See Docket No. 126.
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    admitted to stay there and as to the duration of his stay. Id.

    The Government also indicates that the record is devoid of

    any mention regarding Defendant Ortiz-Figueroa’s alleged

    transfer to home confinement by June 2021. Id. Lastly, it

    requests that the Court deny as moot Defendant Ortiz-

    Figueroa’s request in view of the medical treatment he was

    scheduled to receive and because he was no longer in the

    SHU. Id.

        The Court finds that Defendant Ortiz-Figueroa’s request

    at Docket No. 117 is misplaced. The reason being that, the

    same boils down to a request for this Court to order the

    Bureau of Prisons (“BOP”) to place him in home confinement,

    but while the Court may recommend that an offender be

    placed in a particular facility or program, the BOP is the entity

    responsible for determining where an offender is placed.

    Tapia v. United States, 564 U.S. 319, 331 (2011) (stating that “[a]

    sentencing court can recommend that the BOP place an

    offender in a particular facility or program . . . [b]ut decision

    making authority rests with the BOP.”). Albeit the Court’s
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    ability to issue such a recommendation to the BOP, Defendant

    Ortiz-Figueroa’s request is anchored to his understanding

    that he would serve the remainder of his sentence in the SHU

    at Fort Worth Medical Center. However, as the Government

    informs in its response and the BOP website reveals, he is no

    longer there. 3 Moreover, Defendant Ortiz-Figueroa’s request

    does not articulate a substantive argument or provide

    supporting documents that would propel this Court to issue

    a recommendation for him to be placed in home confinement

    at this juncture.

        Although the Court hereby denies without prejudice the

    request at Docket No. 117, in order to have a clear record

    regarding Defendant Ortiz-Figueroa’s placement, it directs

    the United States Probation Office (“USPO”) to, on or before

    June 18, 2021, inform the Court: (1) Defendant Ortiz-

    Figueroa’s projected release date; (2) whether Defendant

    Ortiz-Figueroa has received the mental health evaluation that


    3The BOP website shows that Defendant Ortiz-Figueroa is currently
    imprisoned at Williamsburg FCI. See Find an Inmate, FED. BUREAU PRISONS,
    https://www.bop.gov/inmateloc/ (last accessed May 27, 2021).
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    the Government indicated he would receive; (3) whether

    Defendant Ortiz-Figueroa has been accepted and placed in a

    halfway hr beouse; and (4) if Defendant Ortiz-Figueroa has

    not been accepted and placed in a halfway house, whether he

    is in the SHU at Williamsburg FCI or in general population.

        In light of the above, Defendant Ortiz-Figueroa’s request

    at Docket No. 117 is DENIED WITHOUT PREJUDICE. The

    USPO must comply with this Court’s directive on or before

    June 18, 2021.

        IT IS SO ORDERED.

        In San Juan, Puerto Rico, this 1st day of June, 2021.

                    S/ SILVIA CARREÑO-COLL
                    UNITED STATES DISTRICT COURT JUDGE
